 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.1 Filed 01/28/16 Page 1 of 50

UNITED STATES DISTRICT COURT

(7

EASTERN DISTRICT OF MICHIGAN
SOUTHER DIVISION

UNITED STATES OF AMERICA,
ex. rel. BEVERLY TRAN,

Plaintiff,
V.

DETROIT LAND BANK AUTHORITY, a public
authority of the City of Detroit;

CITY OF DETROIT, a non-profit domestic corporation;
MIKE DUGGAN, Mayor, City of Detroit;
CORPORATION OF WAYNE COUNTY, a non-profit
domestic corporation.

Defendants.

ADDITIONAL DEFENDANTS

TITLE SOURCE, INC., a corporation; and,
DETROIT LAND BANK COMMUNITY
DEVELOPMENT CORPORATION, a non-profit
domestic corporation;

BEVERLY TRAN

Private Attorney General on behalf of the
UNITED STATES OF AMERICA

4239 Tyler

Detroit, MI 48238

313-455-8882

)
)
)

Case:2:16-cv-10291
Judge: Cohn, Avern

MJ: Majzoub, Mona K.
Filed: 01-28-2016 At 10:15 AM

Sealed Matter Qui Tam (LG)

FILED UNDER SEAL

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PETITION FOR WRIT OF QUI TAM UNDER THE FALSE CLAIMS ACT, 31 U.S.C. 3729 ef

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NOW COMES, Plaintiff, United States of America, ex rel. Beverly Tran, as an original source,
to bring forth this petition for writ of qui tam against the Defendants DETROIT LAND BANK
AUTHORITY, a public authority of the City of Detroit; CITY OF DETROIT, a corporation; MIKE
DUGGAN, Mayor, City of Detroit; COUNTY OF WAYNE, a public corporation; TITLE SOURCE,
INC., a corporation; DETROIT LAND BANK COMMUNITY DEVELOPMENT CORPORATION, a
non-profit corporation, as a course for addressing fraudulent property tax activities and recouping
fraudulent federal reimbursement of the Hardest Hit Funds, and other federal programs, pursuant to the
False Claims Act, 31 U.S.C. 3729 et. seg. on behalf of the United States of America.

QUESTION PRESENTED
ARE DEFENDANTS FEDERAL FRAUDFEASORS?
JURISDICTION
This Court has jurisdiction pursuant to the False Claims Act, 31 U.S.C. 3729 et seq.
PARTIES
Relator
1. Relator Beverly Tran, on be half of the United States of America, resides at 4239 Tyler, Detroit,
Michigan 48238.

Plaintiff
2. Plaintiff United States of America, may be served upon the United States Attorney General,

Loretta Lynch at the United States Department of Justice, 950 Pennsylvania Avenue, NW,

Washington, D.C. 20530-0001, pursuant to MCR 2.105.

3. Plaintiff United States of America, nay be served upon the United States Attorney for the

Michigan Eastern District, 211 W. Fort Street, Suite 2001. Detroit. Michigan 48226, pursuant to

MCR 2.105,

Defendants

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4. Defendant Detroit Land Bank Authority, (hereinafter “DLBA”) a public authority of the City of
Detroit, may be served upon its City Clerk, Janice Winfrey, Detroit, Michigan, 48226, pursuant
to MCR 2.105.

5. City of Detroit, a domestic non-profit corporation conducting business in the State of Michigan,
may be served upon its City Clerk, Janice Winfrey Detroit, Michigan 48226, pursuant to MCR
2.105.

6. Mike Duggan, in his public capacity as Mayor of the City of Detroit, may be served upon the
City Clerk, Janice Winfrey, Detroit, Michigan 48226, pursuant to MCR 2.105.

7. Title Source, INC., a domestic corporation, may be served upon at its principle place of
business, 662 Woodward, Detroit, Michigan 48226, pursuant to MCR 2.105.

8. Defendant Corporation of Wayne County, a public corporation conducting business in the State
of Michigan, may be served upon its County Clerk, Cathy Garrett, at Wayne County Building,
600 Randolph, Detroit, Michigan 48225, pursuant to MCR 2.105.

9. Defendant Detroit Land Bank Community Development Corporation, 501(c)(3) a domestic
non-profit corporation, may be served upon its resident agent, Michelle Story-Stewart, at its
principle place of business, 500 Griswold, Suite 1200, Detroit, Michigan 48226, pursuant to
MCR 2.105.

STATEMENT

10. The False Claims Act (FCA), 31 U.S.C. 3729, et seq., prohibits any “person” from “knowingly
present[ing], or caus[ing] to be presented, to an officer or employee of the Untied States
Government or a member of the Armed Forces of the United States a false or fraudulent claim
for payment or approval. 31 U.S.C. 3729(a)(1). The Act also prohibits a variety of related
deceptive practices involving government funds and property, 31 U.S.C. 3729(a)(2)-(7). A
“person” who violates the FCA “is liable to the United States Government for a civil penalty of
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not less than $5,000 and not more than $10,000, plus 3 times the amount of damages which the
Government sustains.” 31 U.S.C. 3729(a). For purposes of Section 3729, the term “person” is
not defined. A different provision of the FCA authorizes the Attorney General to issue civil
investigative demands (CIDs) compelling the production of evidence. 31 U.S.C. 3733. A CID
may be issued “[w]henever the Attorney General has reason to believe that nay person may be
in possession, custody, or control of any documentary material or information relevant to a false
claims law investigation.” 31 U.S.C. 3733(a)(1). For purposes of section 3733, “the term
‘person’ means any natural person, partnership, corporation, association, or other legal entity,
including any State or political subdivision of a State.” 31 U.S.C. 3733(1)(4). A suit to collect
the statutory penalties may be brought either by the Attorney General, or by a private person
(known as a relator) in the name of the United States, in an action commonly referred to as a qui
tam action. Section 3730(a) states that “[i]f the Attorney General finds that a person has
violated or is violating section 3729, the Attorney General may bring a civil action under this
section against the person.” Section 3730(b)(1) states that “[a] person may bring a civil action
for violation of section 3729 for the person and for the United States Government in the name
of the Government.” When a qui tam action is brought, the complaint is filed in camera and
remains under seal for at least 60 days. 31 U.S.C. 3730(b))(2). The act provides the
government the opportunity to intervene in the suit “within 60 days” after it receives both the
complaint and the material evidence and information,” supra, in which case the government
“shall have the primary responsibility for prosecuting the action, and shall not be bound by an
act of the person bringing the action, and shall not be bound by an act of the person brining the
action”. 31 U.S.C. 3730(c)(1). If the government does not intervene within the initial 60-day
period, “the court, without limiting the status and rights of the person initiating the action, may
nevertheless permit the Government to intervene at a later date upon a showing of good cause.

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31 U.S.C. 3730(c)(3). The Act further provides that an FCA suit “may be dismissed only if the
court and the Attorney General give written consent to the dismissal and their reasons for
consenting.” 31 U.S.C. 3730(b)(1). Ifa qui tam action results in the recovery off civil penalties,
those penalties are divided between the government and the relator. If the government takes
control of the litigation, the relator shall, with limited exceptions, “receive at least 15 percent
but not more than 25 percent of the proceeds of the action or settlement of the claim.” 31 U.S.C.
3730(d)(1). If the government declines to take control of the litigation and the relator
prosecutes the suit, the relator's share “shall not be less than 25 percent and not more than 30
percent of the proceeds.” 31 U.S.C. 3730(d)(2).

BACKGROUND
This instant case currently involves the public auction and purchase of the historically
designated property of 4239 Tyler, Detroit, Michigan 48238, listed on the July 15, 2015 DLBA
public auction website, http://auctions. buildingdetroit.org/Listing/Details/1641285/4239-Tyler
On July 15, 2015, Relator Tran successfully submitted the final bid, online, for the
aforementioned property to the DLBA Auction in the amount of $1,300.
On July 16, 2015, Relator Tran submitted notarized Purchase Agreement for the aforementioned
property with the DLBA.
On August 4, 2015, Relator Tran received a phone call from the DLBA informing her that the
DLBA was not going to honor the auction agreement as the property had legal issues with the
title and that the relator would be refunded her money, with the ability to bid on the property
again when it is put back up for auction.
On August 5, 2015, Relator Tran emailed the DLBA with a modification to the notarized
Purchase Agreement and questioned how it could auction properties it did not own.

On or about August 21, 2015 relator found legal documents, Lis Pendens, of the court posted on

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the front of the house with incidents of vandalism.

Relator Tran reported the vandalism in an email.

Relator Tran pulled the registry of actions for the Third Judicial Court case #: 15-008639-CH,
with plaintiffs listed as “Detroit Land Bank Authority” and “Mike Duggan” in a Quiet Title
action.

Relator Tran then physically went to the Wayne County Register of Deeds to pull the formal
record. This is when she found that the property had previously been foreclosed upon through a
Quiet Title action in case #: 14-012119-CH.

Relator Tran began to pull the Wayne County Treasurer's property tax records to find the
property had never been foreclosed as property taxes for 2013 were in delinquency status, not
yet subject to foreclosure.

On February 24, 2015, a QUITCLAIM DEED was recorded with the Wayne County Treasurer,
for a valuable consideration of $28,000.00 from the Grantee, Corazon, LLC to Grantor, Reinus
Investment Group, LLC, for the real property address of 4239-41 Tyler, Detroit, Michigan
48238, replete with the MICHIGAN REAL ESTATE TRANSFER TAX STAMP.

Wayne County Treasurer issued CERTIFICATE OF FORFEITURE OF REAL PROPERTY on
March 1, 2015, after default judgment was entered for Case # 14-012119-CH. (emphasis
added).

On October 20, 2015, Relator met with Title Source, Inc. staff to sign closing documents.
Relator Tran asked the Title Source, Inc. staff how 2015 summer property taxes were assessed,
at an exceedingly high level, in the amount of $1,375.13.

AFFIDAVIT OF REAL PROPERTY TRANSFER for property taxes to the DLBA was never
recorded and remained listed as CORAZON, LLC with the Wayne County Treasurer.

Relator Tran asked the Title Source, Inc. staff why she was being assessed $255.25 for title

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insurance when it was obvious that there was never an executed title search.

Relator Tran asked the Title Source, Inc. staff why she was being assessed $25.00 for a tax
certification fee.

Relator Tran asked the Title Source, Inc. staff why the Bill of Sale had the sale of 4239 Tyler,
Detroit, Michigan 48238 “For the sum of ONE DOLLAR ($1.00)” when the Property Transfer
Affidavit listed the purchase price of real estate as $1,300.00.

Relator Tran was told by Title Source, Inc. staff, to “just sign the papers, it is all a mess”.
Relator Tran remitted final payment with funds from the Social Security Administration, Social
Supplemental Income, for the care of her disabled, minor son, L*: -

Relator Tran then experienced series of substantial challenges in turning on the utilities and
applying for SNAP, Medicaid and other social assistance programs because the Quit Claim
Deed was improperly issued with the wrong address of 4239 Tyler, Detroit, Michigan when it
was suppose to be issued as 4239 — 4241 Tyler, Detroit, Michigan 48238, as reflected in the

public record of the Wayne County Treasurer's Office Register of Deeds.

. Upon further investigation, Relator Tran found that 4239 Tyler, Detroit, Michigan 48238 had

been presented to Detroit City Council as foreclosed and requested approval of cost
reimbursement of the Hardest Hit Funds for a title search on April 15, 2015 in the amount of
$750.00 when no title search had been executed.

Upon further investigation of closing documents from Title Source, Inc., Relator Tran found
that DLBA was actually a Michigan, domestic, tax exempt, non-profit corporation, DETROIT
LAND BANK COMMUNITY DEVELOPMENT CORPORATION (DLBCDC) functioning
under the guise of a public authority of the corporation of the City of Detroit.

The Michigan Articles of Incorporation for the DLBCDC are written for the DLBA

COMMUNITY DEVELOPMENT CORPORATION with the stated purposes of organization

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“to receive and administer funds exclusively jor charitable, educational and Scientific
purposes within the meaning of Section 501(c)(3) of the Internal Revenue Code of 1986, as
amended” (emphasis added).

36. At no time have DLBA nor DLBCDC established legal standing to bring forth an action of
Quiet Title.

37. Relator Tran was issued QUITCLAIM DEED, without Michigan Real Estate Transfer Tax
Stamp Number, as the conveyance is claimed as tax exempt pursuant to MCL 207.505(h)(i)
which states in whole:

“A written instrument in which the grantor is the United States, this state, a political
subdivision or municipality of this state, or an officer of the United States or of this state, or
a political subdivision or municipality of this state, acting in his or her official capacity.”
and MCL 207.505(h)(i), which states, in whole:

(h) Instruments (i) in which the grantor is the United States, the state, any political
subdivision or municipality thereof, or officer thereof acting in his official capacity; (ii)
given in foreclosure or in lieu of foreclosure of a loan made, guaranteed or insured by the
United States, the state, any political subdivision or municipality thereof or officer thereof
acting in his official capacity; (iii) given to the United States, the state, or I of their officers

as grantee, pursuant to the terms or guarantee or insurance of a loan guaranteed or

insured by the grantee.
38. The grantor is DLBCDC, a Michigan domestic nonprofit corporation.
39. To date, Relator Tran has yet to receive Title Source, Inc. issued ALTA Owners Policy of April
1, 2015, amended October 18, 2015.
40. To date, Relator Tran has yet to receive Title.
41. To date, there is no recording of Michigan Property Tax Transfer.

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To date, there is no recording that Relator paid $1,375.13 for 2015 summer property taxes.
To date, there is no property assessment filed with the City of Detroit.
To date, the Wayne County Treasurer's Office has the taxpayer of 4239 Tyler listed as “Detroit
Land Bank Authority”.
To date, the DLBA has failed to issue and register Quit Claim Deed with the proper legal
address.
To date, property taxes have not been assessed for Said property for the 2016 second fiscal
quarter.

ARGUMENT

Defendants are federal fraudfeasors

 

Is Relator to be considered an “original source”? Relator Tran provides the first documented
evidence of fraudulent federal claims by Defendants. Through purchase of DLBA Auction
property, via internet, Relator discovered a relevant fraud scheme in which DLBA and/or
DLBCDC, targeted individuals who had been affected by impact of foreclosures in Detroit, who
were in need of housing and in want of home ownership. DLBCDC benefited through the
improper use of U.S. Hardest Hit Funds (HHF) program, for non-executed title searches, and
repetitive Quiet Title actions, including the improper assessments, levies and collection of
property taxes which have never been recorded, for personal inurement.
Execution of title searches is part of the acquisition process of the HHF.
Relator Tran legally resides at 4239 Tyler, Detroit, Michigan 48238 and is in possession of a
State of Michigan issued enhanced driver license.

What is the relevant fraud scheme? The Wayne County Treasurer's Office handed properties,
without executing tax foreclosure proceedings, without affidavit of transfers, to DLBA which is

not a corporate body, but an artificial arm of the DLBCDC, a Michigan non-profit, domestic

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corporation.

51. DLBCDC, Taxpayer Identification Number: XX-XXXXXXX possesses no legal authority to sell
properties, as stated in its Articles of Incorporation, and its failure to file as party to the actions
of Quiet Title.

52. It is estimated that the DLBCDC has more than 100,000 properties in its fictitious name,
DLBA, with no executed title searches, yet has billed the HHF for title searches at a cost of
$750.00.

53. The DLBA/DLBCDC has sold more than 1,000 properties, including side lots which are not
registered with the Wayne County Treasurer, and has billed the purchasers for title searches
which have never been executed, and have also arbitrarily levied property taxes when Quiet
Title Orders wipe out any past due taxes, which are never recorded with the Wayne County
Treasurer.

54. Title Source, Inc. facilitates the unauthorized and fraudulent collection of taxes, fees and
closings of properties on behalf of the DLBA and DLBCDC by generating fraudulent closing
documents and collecting notarized signatures of the new property owners.

55. Properties sold through the Building Detroit Auction retain DLBA as the property owner as
recorded with the Wayne County Treasurer's Office after the sale.

56. It is alleged that the goal of the DLBA is to execute reconveyances of the properties on behalf
of DLBCDC, in the event of being unable to make repairs within the six month time frame, nine
months for historic properties, for personal inurement as an act of land speculation for
development as many successful auction purchasers do not qualify for general assistance
programs due to defective Quit Claim Deeds and are not in possession of Titles.

57. It is alleged that Title Source, Inc. along with DLBCDC are issued insurance on properties

being fraudulently conveyed to the DLBA.

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58. It is alleged that the DBLA purposefully fails to disclose fees and taxes of the auction for the
purposes of unjust enrichment as the successful bidder will lose all monies if the grantees
cannot afford the surprise closing costs.

59. It is alleged that the City of Detroit Buildings, Safety Engineering and Environmental
Department has implemented excessive permit demands of DLBA properties to create financial
barriers for individual homeowners meeting the time lines of repair, triggering reconveyances.

60. As a component of this scheme, “for-profit” activities were conducted with the utilization of
“non-profit” federal funds that were specifically designated for the purposes of providing
financial relief to those property owners who were in financial distress of pending foreclosures
and not for the benefit of the DLBCDC and Title Source, Inc. (emphasis added)

6/. This relevant fraud scheme is conducted in coordination with the Wayne County Treasurer's
Office as it either knowingly and/or willingly facilitated the registration of deeds, Mike
Duggan, Mayor of the City of Detroit as he is listed as plaintiff in the DLBA Quiet Title actions,
and the City of Detroit by authorizing the DLBA to function as a public authority when it is an
artificial straw man for DLBCDC, Michigan, domestic non-profit.

62. As an 501(c)(3), the DLBCDC abuses its tax exempt status to become exempt and excluded
from public scrutiny of external audit and review of the legitimacy of its operations and
finances.

63. Relator Tran should be granted CIDs to recover on behalf of the United States of America.

64. Has Relator Tran exhausted all avenues of remedy in notifying the proper entities of the matter
of false claims to the federal government? Wayne County continues to fraudulently foreclose
and convey properties to DLBA which continues to publicly auction properties and has
executed with an increased frequency the sale of side lots, “As Is” properties and demolitions;
therefore there is no other remedy available than granting Relator Tran CIDs to recover on

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behalf of the United States of America.

65. Wayne County Treasurer Certificates of Forfeiture of Real Property are to be issued March 3],
2016.

66. To date, DLBA continues to improperly file Quiet Title actions of properties fraudulently
conveyed by Wayne County Treasurer.

67. Amounts in question for Defendant's relevant fraud scheme shall substantially exceed these
amounts upon Relator Tran being granted CIDs. The 2015 DLBA report to Detroit City
Council of April 15, 2015 has more than 250 occurrences of DLBA as the recognized entity for
taxes, for cost-reimbursements for title searches of the properties at $750.00.

68. This does not include side lots or previous years properties which have been demolished, sold,
and/or as in-kind donation.

69. Of the more than 1,000 properties sold by the DLBA, it is estimated that taxes were levied and
arbitrarily assessed at $1,000 and up.

70. Will the advancement to recover funds on behalf of the United States of America negatively
impact the greater good of society? Defendants DLBA, DLBCDC, Wayne County, Mike
Duggan, Title Source, Inc. are fraudfeasors who presented false claims to the United States of
America and the residents of the City of Detroit and Wayne County by, not just depleting the tax
base by failing to provide opportunity for people to prevent foreclosures through the HHF, but
also by fraudulently assessing taxes for personal inurement. “Congress wanted to stop the
plundering of the public treasury.”' The “public treasury” is constructed through the revenue
generation of taxes, which makes the contumacious and predatory activities of Defendant

fraudfeasors a demonstration of pattern and practice which has eroded the tax base of Wayne

County and Detroit, Michigan.

 

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CONCLUSION
WHEREFORE, the petition for writ of qui tam, pursuant to the FCA should be granted as
Relator Tran has demonstrated an “irreducible constitutional minimum” of standing under
Article III. Relator Tran seeks to recoup fraudulent claims made by fraudfeasor Defendants.

Respectfully submitted.

   

 

, ex. rel. DATE: JANUARY 28, 2016
on behalf of tie UNITED STATES OF AMERICA
4239 Tyler
Detroit, MI 48238

EVIDENTARY DISCLOSURE

I, Beverly Tran, Relator, on behalf of the United States of America, certify that the evidence herein

presented mgy be unsealed and released to the public 60 days after the filing of this matter, January 28,
2016.

 

CERTIFICATE OF SERVICE

I, Beverly Tran, Relator, certify that I have served this action under seal with the U.S. Attorney
General, Loretta Lynch, Washington, D.C. and the Assistant U.S. Attorney General Barbara McQuade
of the U.S. Eastern District of Michigan via U.S. Postal Service and in the U.S. District Court Eastern
District of Michigan Southern Division on January 28, 2016.

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CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAU
NONPROFIT CORPORATION ANNUAL REPORT

2015

 

Identification Number Corporation Name
70883X DETROIT LAND BANK COMMUNITY DEVELOPMENT CORPORATION

 

 

Resident agent name and mailing address of the registered office

MICHELLE STORY-STEWART
500 GRISWOLD, STE 1200

DETROIT Mi 48226

 

The address of the registered office
500 GRISWOLD STE 1200

DETROIT Ml 48226

 

 

Describe the purpose and activities of the corporation during the year covered by this report:

THE DETROIT LAND BANK AUTHORITY IS A QUASI-GOVERNMENTAL AGENCY WHOS MISSION IS TO
HELP RID THE CITY OF DETROIT OF BLIGHT AND PROVIDE AFFORDABLE HOUSING TO ITS RESIDENTS.

 

 

 

Officer/Director Information : |

NAME TITLE BUSINESS OR RESIDENCE ADDRESS

LARRY LIPA PRESIDENT 500 GRISWOLD DETROIT MI 48226
ERICA WARD GERSON SECRETARY 500 GRISWOLD DETROIT Mi 48226
RICHARD HOSEY TREASURER 500 GRISWOLD DETROIT Mi 48226
ERICA WARD GERSON VICE PRESIDENT 500 GRISWOLD DETROIT Mi 48226
LARRY LIPA DIRECTOR 500 GRISWOLD DETROIT MI 48226
RICHARD HOSEY DIRECTOR 500 GRISWOLD DETROIT MI 48226
ERICA WARD GERSON DIRECTOR 500 GRISWOLD DETROIT Mi 48226

 

 

Electronic Signature

Filed By Title Phone
MICHELLE STORY-STEWART AUTHORIZED OFFICER OR AGENT 3135025248

| certify that this filing is submitted without fraudulent intent and that | am authorized by the
business entity to make any changes reported herein.

 

 

Payment Information

Payment Amount Payment Date/Time Reference Nbr
$20 08/20/2015 11:58:52 #1315 6800 70883X 2015

 

 

 
 

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CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAU
NONPROFIT CORPORATION INFORMATION UPDATE

2014

 

identification Nurnber Corporation Name
70883X DETROIT LAND BANK COMMUNITY DEVELOPMENT CORPORATION

 

 

Resident agent name and mailing address of the registered office
MICHELLE STORY-STEWART

 

 

The address of the registered office
65 CADILLAC SQ STE 3200

DETROIT Mi 48226

 

 

Describe the purpose and activities of the corporation during the year covered by this report:

THE DETROIT LAND BANK AUTHORITY IS A QUASI-GOVERNMENTAL AGENCY WHOS MISSION 8 TO
HELP RID THE CITY OF DETROIT OF BLIGHT A PROVIDE AFFORDABLE HOUSING TO ITS RESIDENTS.

 

 

Officer/Director Information

 

NAME TITLE BUSINESS OR RESIDENCE ADDRESS
LARRY LIPA PRESIDENT 65 CADILLAC SQ DETROIT MI 48226
ERICA WARD GERSON SECRETARY 65 CADILLAC SQ DETROIT Mi 48226
RICHARD HOSEY TREASURER 65 CADILLAC SQ DETROIT MI 48226
ERICA WARD GERSON VICE PRESIDENT 65 CADILLAC SQ DETROIT MI 48226
LARRY LIPA DIRECTOR 65 CADILLAC SQ DETROIT Mi 48226
ERICA WARD GERSON DIRECTOR 65 CADILLAC SQ DETROIT MI 48226
RICHARD HOSEY DIRECTOR 65 CADILLAC SQ DETROIT MI 48226

 

 

Electronic Signature

Filed By Title Phone
MICHELLE STORY-STEWART Chief Financial Officer 313-502-5248

1 certify that this filing is submitted without fraudutent intent and that | am authorized by the
business entity to make any Changes reported herein.

 

 

Payment Information

Payment Amount Payment Date/Time Reference Nbr
$20 03/20/2015 11:14:33 71315 6800 70883X 2014

 

 

 

 

 
 

 

 

 

CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAU

NONPROFIT CORPORATION INFORMATION UPDATE
2013

 

| certify that the board consists of 3 or more directors, and further certify that all directors’ names and
addresses are previously filed with the Department, and that no changes have occurred in required
information since the last filed report.

 

 

Identification Number
70883X

 

Corporation Name
DETROIT LAND BANK COMMUNITY DEVELOPMENT CORPORATION

 

Resident agent name and mailing address of the registered office
AUNDRA C WALLACE

 

The address of the registered office
65 CADILLAC SQ STE 3200

DETROIT Mi 48226

 

 

Describe the purpose and activities of the corporation during the year covered by this report:

 

 

Filed By

MARSHA BRUHN

Electronic Signature

Title Phone
CHAIRPERSON 313-974-6869

i certify that this filing is submitted without fraudulent intent and that | am authorized by the
xX business entity to make any changes reported herein.

 

 

 

Payment Information

Payment Amount Payment Date/Time Reference Nbr

09/19/2013 10:12:09 71315 6800 70883X 2013

 

 

 
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Michigan Department of Energy, Labor & Economic Growth

Filing Endorsement

This is to Certify that the ARTICLES OF INCORPORATION - NONPROFIT
for

DLBA COMMUNITY DEVELOPMENT CORPORATION
1D NUMBER: 70883X

received by facsimile transmission on January 10, 2011 is hereby endorsed

Filed on January 11, 2011 by the Administrator.

The document is effective on the date filed, unless a
subsequent effective date within 90 days after
received date is stated in the document.

In testimony whereof, | have hereunto set my
hand and affixed the Seal of the Department,
in the City of Lansing, this 12TH day

of January, 2011.

 

ft ee

Director

Bureau of Commercial Services
Sent by Facsimile Transmission 11012
Grane 2:162¢V-7.9P91-AC-MKM ECF No. 1, PagelD.19 Filed 01/28/16 Page 19 of 90 so?

BCSICD-502 (Rev. 5/10)
MICHIGAN DEPARTMENT OF ENERGY, LABOR & ECONOMIC GROWTH

BUREAU OF COMMERCIAL SERVICES
Date Received (FOR BUREAU USE ONLY)

 

 

 

This document is effective on the date filed, unless a
subsequent effactive date within 90 days after received
date |s stated in the document.

 

 

 

 

 

 

 

 

 

 

Name

Peter J. Kulick, Dickinson Wright PLLC

Address

215 S. Washington Square, Suite 200

City Slate Zip Code

Lansing Mi 48933 EFFECTIVE DATE:

 

 

 

Decument will be returned to the name and address you enter above.
If left blank document will be mailed to the registered office.

 

 

 

 

ARTICLES OF INCORPORATION

For use by Domestic Nonprofit Corporations
(Please read information and instructions on the last page)

Pursuant to the provisions of Act 162, Public Acts of 1982, the undersigned corporation executes the following Articles:

ARTICLE |

 

The name of the corporation is:
DLBA Community Development Corporation

 

 

 

 

 

 

ARTICLE I!
The purpose or purposes for which the corporation Is organized are:
See attachment.
ARTICLE il!
1, The corporation is organized upon a Nonstock basis.

 

(Stock or Nanstock)
2. lf organized on a stock basis, the total number of shares which the corporation has authority to issue is
. If the shares are, or are to be, divided into

classes, the designation of each class, the number of shares in each class, and the relative rights, preferences and
limitations of the shares of each class are as follows:

 

 

 

 

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ARTIGLE Ill (cont.

 

3. a. if organized on a nonstock basis, the description and value of its real property assets are: (if none, Insert “none")

None.
b. The description and value of its persona! property assets are: (if none, insert "none")

None.
¢. The corporation is to be financed under the fallawing general plan:

 

The Corporation is to be funded by receiving grants and other contributions, investing such property and
receiving the net income therefrom.

d. The corporation is organized on a Directorship basis.
, {Mambership or Directorship)

 

 

ARTICLE IV

 

1. The name of the resident agent at the ragistered office is:
Aundra C. Wallace

2. The address of its registered office in Michigan is:

 

65 Cadillac Square, Suite 3200 Detroit , Michigan 48226
(Street Address) (City) (21P Cade)

2. The mailing address of the registered office in Michigan if different than above:

 

 

 

 

 

' Michigan
(Street Address or P.O. Box) (City) (ZIP Code)
ARTICLE V
The name(s) and address(es) of the incorporator(s) is (are) as follows:
Name Residence or Business Address
Pater J. Kulick 215 S. Washington Square, Suite 200, Lansing, Mi 48933

 

 

 

 

 

 

 

 

 

 

 

 

 

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Use space below for additional Articias or for continuation of previous Articles. Please identify any Article being continued
or added. Attach additional pages if needed.

See attached for Articles Vi through XII.

2011

 

L the incorparata my name this 10th dayof January :

 

 
  

“\

 

Peter J. Kulick

 

 

 

 

 

 

 

 

 

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ATTACHMENT TO ARTICLES OF INCORPORATION
OF

DLBA COMMUNITY DEVELOPMENT CORPORATION

ARTICLE I

 

The purposes for which the DLBA Community Development Corporation (the
"Corporation”) is organized are to receive and administer funds exclusively for charitable,
educational and scientific purposes within the meaning of Section 501(c)(3) of the Internal
Revenue Code of 1986, as amended (the "Code"). In particular, the Corporation is organized to
serve the people of the City of Detroit, Michigan through the advancement of economic welfare,
by making available technical assistance, training, and capital for the establishment of new
enterprises and the growth of existing enterprises, through the promotion of community
development, and through the provision of affordable housing for persons of low and moderate
income (including making distributions to other Code Section 501(c)(3) organizations).

ARTICLE VI

In order to accomplish the purposes of the Corporation as set forth in Article I, and for no other
purpose or purposes, the Corporation shall also have the power to:

a. sue and be sued;
b. make contracts;
c. receive property by devise or bequest, subject to the laws regulating the transfer

of property by will, and otherwise acquire and hold all property, real or personal,
including shares of stock, bonds and securities of other corporations;

d. act as trustee under any trust whose objects are related to the principal objects of
the Corporation, and to receive, hold, administer and expend funds and property
subject to such trust;

€. convey, exchange, lease, mortgage, encumber, transfer upon trust or otherwise
dispose of all property, real or personal;

f. borrow money, contract debts and issue bonds, notes and debentures, and secure
the payment of any performance of its obligations; and

g. do all other acts necessary or expedient for the administration of the affairs and
attainment of the purposes of the Corporation: provided, however, that this
Corporation shall not, except to an insubstantial degree, engage in any activities
or exercise any powers that are not in furtherance of the primary purposes of this
Corporation.

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ARTICLE VIE

No director or officer of the Corporation shall possess any right or title to, or interest in,
corporate property or earnings of the Corporation in his or her individual capacity or private
capacity, and no part of the net earnings of the Corporation shall inure to the benefit of, or be
distributable to, its directors, trustees officers, or other private persons, except that the
Corporation shall be authorized and empowered to pay reasonable compensation for services
rendered and to make payments and distributions in furtherance of the purposes set forth in
Articles IT and VI hereof. No substantial part of the activities of the Corporation shall be the
carrying on of propaganda, or otherwise attempting to influence legislation, and the Corporation
shall not participate in, or intervene in (including the publishing or distribution of statements)
any political campaign on behalf of or in opposition to any candidate for public office.
Notwithstanding any other provision of these Articles of Incorporation, the Corporation shal] not
carry on any other activities not permitted to be carried on (a) by a corporation exempt from
federal income tax under Section 501(c)(3) of the Code, or (b) by a corporation, contributions to
which are deductible under Section 170(c)(2) of the Code.

ARTICLE Vil
No loan shall be made by the Corporation to an officer or director.
ARTICLE IX

Upon the dissolution of the Corporation, and after paying or making provision for the
payment of all the liabilities of the Corporation, the remaining assets of the Corporation shall be
distributed exclusively for one or more exempt purposes within the meaning of Section $01(c)(3)
of the Code (or any amendment thereof) or shall be distributed to the federal government, or to a
state or local government, for a public purpose. Any such assets not so distributed shall be
disposed of by a court of competent jurisdiction of the county in which the principal office of the
Corporation is then located, exclusively for such purposes or to such organization or
organizations, as such court shall determine, which are organized and operated exclusively for
such purposes.

ARTICLE X

A volunteer director of the Corporation shall not be personally liable to the Corporation
or its directors for monetary damages for breach of the director's fiduciary duty except for
liability:

a. For breach of a director’s duty of loyalty to the Corporation or its directors;

b. For acts or omissions not in good faith or that involve intentional misconduct or
knowing violation of law;

C. For violation of Section 551(1) of the Michigan Nonprofit Corporation Act;

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Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.24 Filed 01/28/16 Page 24 of 50

Michigan Department of Licensing and Regulatory Affairs

Filing Endorsement

This is to Certify that the RESTATED ARTICLES OF INCORPORATION - NONPROFIT
for

DETROIT LAND BANK COMMUNITY DEVELOPMENT CORPORATION
ID NUMBER: 70883X

received by facsimile transmission on October 17, 2011 is hereby endorsed

Filed on October 18, 2011 by the Administrator.

The document is effective on the date filed, unless a
subsequent effective date within 90 days after
received date is stated in the document.

ANNA,
Seca
gear nat tn

e ye, %%

In testimony whereof, | have hereunto set my
hand and affixed the Seal of the Department,
in the City of Lansing, this 18TH day

of October, 2011.

 

Director

Bureau of Commercial Services
Sent bv Facsimile Transmission 11291
oc enh, 2; 19;Cv;10291-AC-MKM ECF No. 1, PagelD.25 Filed 01/28/16 Page, 29 of 9

sO

BCS/CD-511 (Rav. 4/11)

MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS
BUREAU OF COMMERCIAL SERVICES
Date Recaived (FOR BUREAU USE ONLY)

 

 

 

Thies dacumant is effactive on the date filed, unless 2
subsequent effective date within 90 days after received
date is stated in the document.

 

 

 

 

 

 

 

 

 

 

Name

Peter J. Kulick, Dickinson Wright PLLC

Address

2158. Washington Square, Suite 200

City State ZIP Code

Lansing Michigan 48933 EFFECTIVE DATE:
ae Document will be returned to the name and address you enter above. *

Hf jeft blank, document will be returned to the ragistared office.

RESTATED ARTICLES OF INCORPORATION

For use by Domestic Nonprofit Corporations
(Please read information and instructions on the last page)

Pursuant to the provisions of Act 162, Public Acts of 1982, the undersigned corporation executes the following Restated Articles:

 

1. The present name of the corporation is:

ODLBA Community Development Corporation

 

2. The identification number assigned by the Bureau is: 70883X

 

 

 

3. All former names of the corporation are:

4. The date of filing the original Articles of incorporation was: January 11, 2011

 

 

 

The following Restated Articles of incorporation supersede the Articies of incorporation as amended and shail be
the Articles of Incorporation for the corporation:

ARTICLE |

 

The name of the corporation is:
Detroit Land Bank Community Development Corporation

 

ARTICLE {1

 

The purpose or purposes for which the corporation is organized are:

See attachment

 

 

 

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ARTICLE It

 

Nonstock
(stock or nonstock)

1, The corporation is organized on a basis.

2. lf organized on a stock basis, the aggregate number of shares which the corporation has authority to issue is

If the shares are, or are to be
divided into classes, the designation of each class, the number of shares in each class, and the relative rights, preferences,
and limitations of the shares of each class are as follows:

 

3. If organized on a nonstock basis, the description and value of its real property assets are: (if none, insert “none")

None.

and the description and value of its persanal property assets are: (if none, insert “none")

None.

(The valuation of the above assets was as of : )
The carporation is to be financed under the following general plan:

The Corporation Is to be funded by receiving grants and other contributions, investing such property and receiving nal
income therefrom.

 

Directorship basis.

The corporation is organized on a -
(membership or directorship)

 

 

ARTICLE Iv

 

4. The name of the resident agent is: Aundra C. Wallance

2. The address of the registered office is:

65 Cadillac Square, Suite 3200 Detroit _ Michigan 48226 —
(Street Addrecs) (City) (ZIP Cade)

3. The mailing address of the registered office, if different than above:

, Michigan -
(Street Address or P.O. Box) (City) (ZIP Code)

 

 

 

 

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ARTICLE V (Additional provisions, if any, may be Inserted here; attach additional pages if needed.)

 

See attachment.

 

 

5. COMPLETE SECTION (a) IF THE RESTATED ARTICLES DO NOT FURTHER AMEND THE ARTICLES OF
INCORPORATION; OTHERWISE, COMPLETED SECTION (b).

 

a. [_] These Restated Articles of Incorporation were duly adopted on the day of
_ in accordance with the provisions of Section 642 of the Act by the Board of Directors without a
vote of the members or shareholders. These Restated Articles of Incorporation only restate and integrate
and do not further amend the provisions of the Articles of Incorporation as heretofore amended and there is
no material discrepancy between those provisions and the provisions of these Restated Articles.

Signed this day af

By

 

(Signature of Authorized Officer or Agent)

 

(Type or Print Name)

 

 

b. [V] These Restated Articles of Incorporation were duly adopted on the 30th _day of ___ September
20 _ in accordance with the provisians of Section 642 of the Act. These Restated Articles of
Incorporation restate, integrate, and do further amend the provisions of the Articles of Incorporation, and:
(Check ona of the faliawing)

"] were duly adopted by the shareholders. the members. or the directors (if organized on a nonstock
directorship basis), The necessary number of votes were cast in favor of these Restated Articles of
Incorporation.

T] were duly adopted by the written consent of all the shareholders or members entitled to vote in
accordance with Section 407(3) of the Act.

were duly adopted by the written consent of all the directors pursuant to Section $25 of the Act as the
corporation is organized on a directorship basis.

[| were duly adopted by the written consent of the shareholders or members having not less than the
minimum number of votes required by statute in accordance with Section 407(1) and (2) of the Act.
Written notice to shareholders or members who have not consented in writing has been given. (Note:
Written consent by leee than all of the shareholders or members is permitted only if euch provision
appears In the Articles of corporation).

Signgd thj _ —™ 5

4 day of September 2011

   
 

 

 

 

By
(Signature of President, Vica-Prasident, Chairparson, or Vice-Chairperson)
Glan Wash President
(Type or Print Name} {Type or Print Title)

 

 

 

 

 

 

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ATTACHMENT TO ARTICLES OF INCORPORATION
OF

DETROIT LAND BANK COMMUNITY DEVELOPMENT CORPORATION

ARTICLE Il

The purposes for which the Detroit Land Bank Community Development Corporation
(the "Corporation”) is organized are to receive and administer funds exclusively for charitable,
educational and scientific purposes within the meaning of Section 501(c)(3) of the Internal
Revenue Code of 1986, as amended (the "Code"). In particular, the Corporation is organized to
serve the people of the City of Detroit, Michigan through the advancement of economic welfare,
by making available technical assistance, training, and capital for the establishment of new
enterprises and the growth of existing enterprises, through the promotion of community
development, and through the provision of affordable housing for persons of low and maderate
income (including making distributions to other Code Section 501(c)(3) organizations).

ARTICLE VI

Tn order ta accomplish the purposes of the Corparation as set forth in Article II, and for no other
purpose or purposes, the Corporation shall also have the power to:

a. sue and be sued;
b. make contracts;
c. receive property by devise or bequest, subject to the laws regulating the transfer

of property by will, and otherwise acquire and hold all property, real or personal,
including shares of stock, bonds and securities of other corporations,

d. act as trustee under any trust whose objects are related to the principal objects of
the Corporation, and to receive, hold, administer and expend funde and proporty
subject to such trust;

e, convey, exchange, lease, mortgage, encumber, transfer upon trust or otherwisc
dispose of all property, real or personal;

f. borrow money, contract debts and issue bonds, notes and debentures, and secure
the payment of any performance of its obligations; and

g. do all other acts necessary or expedient for the administration of the affairs and
attainment of the purposes of the Corporation; provided, however, that this
Corporation shall not, except to an insubstantial degree, engage in any activities
or exercise any powers that are not in furtherance of the primary purposes of this
Corporation.

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rom:

ARTICLE VI

No director or officer of the Corporation shall possess any right or title to, or interest in,
corporate property or earnings of the Corporation in his or her individual capacity or private
capacity, and no part of the net earnings of the Corporation shall inure to the benefit of, or be
distributable to, its directors, trustees officers, or other private persons, except that the
Corporation shall be authorized and empowered to pay reasonable compensation for services
rendered and to make payments and distributions in furtherance of the purposes set forth in
Articles II] and VI hereof. No substantial part of the activities of the Corporation shall be the
carrying on of propaganda, or otherwise attempting to influence legislation, and the Corporation
shall not participate in, or intervene in (including the publishing or distribution of statements)
any political campaign on behalf of or in opposition to any candidate for public office.
Notwithstanding any other provision of these Articles of Incorporation, the Corporation shall not
catry on any other activities not permitted to be carried on (a) by a corporation exempt from
federal income tax under Section 501(c)(3) of the Code, or (b) by a corporation, contributions to
which are deductible under Section 170(c)(2) of the Code.

ARTICLE VHI
No loan shall be made by the Corporation to an officer or director.
ARTICLE IX

Upon the dissolution of the Corporation, and after paying or making provision for the
payment of all the liabilities of the Corporation, the remaining assets of the Corporation shall be
distributed exclusively for one or more exempt purposes within the meaning of Section 501(c)(3)
of the Code (or any amendment thereof) or shall be distributed to the federal government, or to a
state or local government, for a public purpose. Any such assets not so distributed shall be
disposed of by a court of competent jurisdiction of the county in which the principal office of the
Corporation is then located, exclusively for such purposes or to such organization or
organizations, as such court shall determine, which are organized and operated exclusively for
such purposes.

ARTICLE X

A volunteer director of the Corporation shall not be personally liable to the Corporation
or its directors for monetary damages for breach of the director’s fiduciary duty except for
liability:

a. For breach of a director’s duty of loyalty to the Corporation or its directors;
b. For acts or omissions not in good faith or that involve intentional misconduct or
knowing violation of law;
c. For violation of Section 551(1) of the Michigan Nonprofit Corporation Act;
2

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d. For a transaction from which the director derives an improper personal benefit;
€. For an act or omission that is grossly negligent; or
f. For an act or omission occurring before the date this document is effective.

If, after approval by the directorship of this provision, the Michigan Nonprofit
Corporation Act is amended to authorize corporate action further eliminating or limiting the
personal liability of directors, then the liability of a director of the Corporation shall be
eliminated or limited to the fullest extent permitted by the Michigan Nonprofit Corporation Act,
as so amended.

Any repeal or modification of the foregoing provisions of this Article X by the
directorship of the Corporation shall not adversely affect any right or protection of the director or
the board of directors existing at the time of such repeal or modification.

ARTICLE XI

The Corporation assumes all liability to any person other than the Corporation or its
directors for all acts or omissions of any volunteer director incurred in the good faith
performance of the volunteer director's duties.

ARTICLE XII

Any reference in these Articles of Incorporation to a section of Code shal! be interpreted
to include reference to corresponding provisions of any applicable future Internal Revenue law.

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Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.31 Filed 01/28/16 Page 31 of 50

TAB
 

4/8/2016 Case 2:16-cv-10291-AC-M MI. fe Saic Gc deg hele asta rcéstiOGndo1d6a8/16 Page 32 of 50

Skip to Main Content Locout My Account Search Menu New Case Search Refine
Search Back

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Location > Non-Criminal Cases imacaes 0 ACCESS HSU

 

 

Manual
REGISTER OF ACTIONS
Case No. 14-012119-CH
Party InroRMATION
Lead Attorneys

Defendant 12716 Broadstreet, Detroit, Michigan 48238

Defendant 47199 Santa Barbara, Detroit, Michigan
48221

Defendant 17340 Santa Rosa, Detroit, Michigan 48221
Defendant 1757 Warren, Detroit, Michigan 48208
Defendant 47600 Cherrylawn, Detroit, Michigan 48238
Defendant 3735 Leslie, Detroit, Michigan 48238
Defendant 3774 Sturtevant, Detroit, Michigan 48204
Defendant 3825 Waverly, Detroit, Michigan 48238
Defendant 3831 Tyler, Detroit, Michigan 48238

Defendant 4225 Tyler, Detroit, Michigan 48238

“Defendant 4239 Tyler, Detroit, Michigan 48238 .
Defendant 4324 Leslie, Detroit, Michigan 48238
Defendant 4343 Leslie, Detroit, Michigan 48238
Defendant 4365 Tyler, Detroit, Michigan 48238
Defendant 4370 Glendale, Detroit, Michigan 48238
Defendant 4758 Sturtevant, Detroit, Michigan 48204
Defendant 4870 Sturtevant, Detroit, Michigan 48204
Defendant §291 Bishop, Detrolt, Michigan 48224

Plaintiff Detroit Land Bank Authority

Plaintiff Duggan, Mike

David W. Charron
Retained
(616) 363-0300(W)

Kevin G. Simowski
Retained
(248) 547-1032(W)

Kevin G, Simowski
Retained
(248) 547-1032(W)

 

Events & Orvers of THE COURT

OTHER EVENTS AND HEARINGS

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4/8/2016 Case 2:16-cv-10291-AC-Mi Mienfabutilic! 3! Gc. dr @eeld) aaproc és liGe4d4deg8/16 Page 33 of 50

09/22/2014| Compiaint, Filed

09/22/2014} Service Review Scheduled

09/22/2014} Status Conference Scheduled

09/22/2014] Case Filing Fee - Paid

10/21/2014] Order for Special Service, Siqned and Filed

10/22/2014! Order for Miscellaneous Action, Signed and Filed

11/05/2014] Service of Complaint, filed

11/12/2014] Service of Complaint. filed

11/13/2014) Party Final - Voluntary Dismissal, Signed and Filed

11/24/2014] Party Final - Voluntary Dismissal, Signed and Filed

11/26/2014] Pri f ice, Fi

12/03/2014] Proof of Service, Filed

12/04/2014} Party Final - Voluntary Dismissal, Signed and Filed

12/09/2014] Proof of Service, Filed

12/10/2014] Answer to Complaint, Filed

12/11/2014] Service of Complaint, filed

12/11/2014] Service of Complaint, filed

12/11/2014 | Service of Complaint, filed

12/11/2014] Service of Complaint, filed

12/11/2014] Service of Complaint, filed

12/11/2014] Default, Request, Affidavit and Entry Filed

12/11/2014| Motion for Default Judgment, Filed

12/11/2014| Motion for Directed Verdict, Filed-WVD

12/11/2014] Motion for Default Judgment, Filed-WVD

12/11/2014} Motion for Default Judgment, Filed-WVD

12/11/2014] Motion for Default Judgment, Filed-WVD

42/11/2014] Motion for Default Judgment, Filed-WVD

12/11/2014] Motion for Default Judgment, Filed-WVD

12/18/2014! Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12/18/2014 | Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12/18/2014 | Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12/18/2014 | Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12/18/2014 | Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12/18/20141 Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12/18/2014| Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )
12119/2014| Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Result: Held

Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
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Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Motion for Miscellaneous Action Granted, Order to Follow (Judicial Officer: Colombo, Robert J., Jr. )
Party Final - Default Judgment Granted, Signed and Filed
Party Final - Default Judgment Granted, Slaned and Filed
Party Final - Default Judgment Granted, Signed and Filed
Party Final - Default Judgment Granted, Signed and Filed

Party Final - Default Jud nt Granted, Signed and File

 
   
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
  
 
  
  
 
  
 
 
 
 
 
 
  
 
 
 
  
 
  
 
 
  
 
  
 
 
  
 
 
   
  
 
  
 
 
 
 
 
 
 
 
 
  
  

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12/22/2014
12/22/2014
12/22/2014
12/22/2014

12/22/2014] Party Final - Default Judgment Granted, Signed and Eiled
12/23/2014] Default, Request, Affidavit and Entry Filed

42/23/2014] Motion for Default Judgment, Filed

12/23/2014} Motion for Defauit Ju Filed-WVD
42/26/2014 | Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )

12/26/2014
01/09/2015
01/09/2015
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02/19/2015
02/19/2015
02/20/2015
02/20/2015
02/20/2015
02/25/2015
02/27/2015

Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )

Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Motion Hearing (9:00 AM) (Judicial Officer Colombo, Robert J., Jr.)
Proof of Service, Filed .

Proof of Service, Filed

Party Final - Default Judgment Granted, Signed and Filed
Party Final - Default Judament Granted, Signed and Filed
Proof of Service, Eile

Proof of Service, Filed

Proof of Service, Filed

Proof of Service, Filed

Proof of Service, Filed

Proof of Service, Filed

Ordr to Set Aside, Signed and Filed (does not change status)
Proof of Service, Filed

Proof of Service, Filed

Proof of Service, Filed

Proof of Service, Filed

Default, Request, Affidavit and Entry Filed

Motion for Default Judgment, Filed

Praecipe, Filed (Judicial Officer: Colombo, Robert J., Jr. )

Default, Request, Affidavit and Entry Filed

Motion for Default Judgment, Filed

Motion Hearing (8:30 AM) (Judicial Officer Colombo, Robert J., Jr.)
Praecipe, Filed (Judicial Officer. Colombo, Robert J., Jr. )

Party Final - Default Judgment Granted, Signed and Filed
Proof of Service, Filed

Motion Hearing (8:30 AM) (Judicial Officer Colombo, Robert J., Jr.)
04/13/2015| Service of Complaint, filed

04/13/2015] Service of Complaint, filed

httos://cmspublic.3rdec.org/CaseD etail.aspx?C aselD=2424806
1/8/2016

Case 2:16-cv-10291-AC-Mi Ment futlic Gc. dro aaelielan aahkoc SsuiBeeddddeg8/16 Page 34 of 50

04/13/2015] Service of Complaint, filed

05/14/2015} Appearance of Attomey, Filed

05/29/2015] Party Final - Voluntary Dismissal, Siqned and Filed (Judicial Officer: Colombo, Robert J., ur. )
05/29/2015! Proof of Service, Filed

07/14/2015] Pre-Trial Statement, Filed

07/16/2015] Proof of Service, Filed

08/05/2015] Party Final - Order Dismissing Party, Signed and Filed (Judicial Officer: Colombo, Robert J., Jr. )
08/10/2015] Party Final - Voluntary Dismissal, Siqned and Filed (Judicial Officer: Colombo, Robert J., Jr. )
08/20/2015] Proof of Service, Filed

08/27/2015] Party Final - Voluntary Dismissal, Siqned_ and Filed (Judicial Officer: Colombo, Robert J., Jr. )
08/28/2015} Proof of Service, Filed

10/23/2015} Or. et Asi igned and Eil lees not cha tatus

10/27/2015] Proof of Service, Filed

11/23/2015] Party Final - Voluntary Dismissal, Signed and Filed

 

 

 

 

FinanciAL INFoRMATION

Plaintiff Detroit Land Bank Authority

Total Financial Assessment 80.00

Total Payments and Credits 80.00

Balance Due as of 01/08/2016 0.00
12/11/2014 | Transaction Assessment 20.00
12/11/2014 | Civil File & Serve Payment Receipt # 2014-34213 Detroit Land Bank Authority (20.00)
12/23/2014 | Transaction Assessment 20.00
12/23/2014 Civil File & Serve Payment Receipt # 2014-37617 Detroit Land Bank Authority (20.00)
02/11/2015| Transaction Assessment 20.00
02/11/2015] Civil File & Serve Payment Receipt # 2015-12196 Detroit Land Bank Authority (20.00)
02/19/2015} Transaction Assessment 20.00
02/19/2015] Civil File & Serve Payment Receipt # 2015-14393 Detroit Land Bank Authority (20.00)

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Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.35 Filed 01/28/16 Page 35 of 50

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Bernard J. Youngblood
Wayne County Register of Deeds

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STATE OF MICHIGAN

IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

MIKE DUGGAN, Mayor, City of Detroit, FILED IN MY OFFICE

And the DETROIT LAND BANK AUTHORITY, WAYNE COUNTY CLERK
a public body corporate, 1/12/2015 9:02:43 AM

CATHY M. GARRETT

Plaintiffs, 14-012119-CH

vs Hon. Robert J. Colombo, Jr.

 

5291 Bishop, Detroit, Michigan 48224, ES Matthew Johnson
12716 Broadstreet, Detroit, Michigan 48238,
4370 Glendale, Detroit, Michigan 48238,
3735 Leslie, Detroit, Michigan 48238,

4324 Leslie, Detroit, Michigan 48238,

4343 Leslie, Detroit, Michigan 48238,

3774 Sturtevant, Detroit, Michigan 48204,
4758 Sturtevant, Detroit, Michigan 48204,
4870 Sturtevant, Detroit, Michigan 48204,
3831 Tyler, Detroit, Michigan 48238,

4225 T ler, Detroit, Michigan 48238,

  

4365 Tyler, Detroit, Michigan 48238,

3825 Waverly, Detroit, Michigan 48238,
17600 Cherrylawn, Detroit, Michigan 48238,
17199 Santa Barbara, Detroit, Michigan 48221,
17340 Santa Rosa, Detroit, Michigan 48221,
1757 Warren, Detroit, Michigan 48208,

Defendants.

 
 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.36 Filed 01/28/16 Page 36 of 50

2015067960 Page3of6

Deeds and the Wayne County Treasurer tax records, to identify ownership interests; 2) electronic
investigative searches to identify the last known address of the Owner(s) and Interest Holder(s) of
the Defendant Property; 3) service of process by First Class Mail and by Certified Mail, return
receipt requested; and 4) posting of the pleadings on the Defendant Property and in three public
buildings.

IT IS HEREBY ORDERED that the Defendant Property located at 4239 TYLER, City of
Detroit, County of Wayne, State of Michigan is declared a nuisance. -

IT IS FURTHER ORDERED that, as the Owner(s) and Interest Holder(s) of the Defendant
Property have failed to abate the nuisance as requested in Plaintiffs" Complaint, Plaintiffs are
hereby granted the authority and right to enter the subject property and remove and/or abate the
declared nuisance.

IT IS FURTHER ORDERED that the property interests held by NAOAKI IWASA in the Property
located at 4239 TYLER, Detroit, Michigan, and more specifically known as:

Lot 106, Russell Woods Subdivision,
as recorded in Liber 34, Page 3, of Plats, Wayne County Records.

Parcel ID Number: 14005265

Commonly known as: 4239 Tyler, Detroit, Michigan

is awarded to Plaintiff Detroit Land Bank Authority as compensation and in order to
equitably defray the costs of abatement of the nuisance, actual attorney fees and court costs.

IT IS FURTHER ORDERED that Plaintiff Detroit Land Bank Authority may effectuate
this transfer of title by recording a true copy of this Judgment against the owners and interest

holders with the Wayne County Register of Deeds.
IT IS FURTHER ORDERED that the Owner(s) and Interest Holder(s) of the Defendant

Property are responsible for any and all property taxes, water bills, mortgage or other liens, or
Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.37 Filed 01/28/16 Page 37 of 50

2015067960 PageSof6&

4 Hh.n10419-CH

NoA79506 emp COPY Law

STATE OF MICHIGAN, os
County of Wayne

   

 

 

 

 

I, CATHY M. GARRETT, Clerk of Wayne County, and Clerk of the Cireuit Court for the
County of here the a and fo: ing is a andfcorrect,
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sotered in tha above entitled cause by sald Coct/on appears of recordin aly ofc. ‘That I have

compared the same with the original, and it is a true transcript therefrom, and of the whole thereof.

 
Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.38 Filed 01/28/16 Page 38 of 50

CSCLICD-520 (Rev. 07/14)

}

MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS
CORPORATIONS, SECURITIES & COMMERCIAL LICENSING BUREAU

 

Date Received (FOR BUREAU USE ONLY)

OCT 09 2014

 

This document is effective on the date filed, unless a
subsequent effective date within 90 days after received

 

 

 

 

 

 

 

 

 

 

 

 

 

date is stated in the document. Tran Infotl LORSBOId~1 10/06/14

Name Chik: 46896 Aet> $5.00
Naaoaki lwasa 19: © §5533R
Address
56388 Solina Court FI ED
City Stata ZIP Code ‘A
Macomb Michigan 48042 EFFECTIVE DATE: oct p9 2014

U Document will be returned to the name and address you enter above. ISTRATOR

Coe If left blank, document will be returned to the registered office. > C OR NATIONS OWI

CERTIFICATE OF CHANGE OF REGISTERED OFFICE AND/OR CHANGE OF RESIDENT AGENT
For use by Domestic and Foreign Corporations and Limited Liability Companies
(Please read information and instructions on the last page)

Pursuant to the provisions of Act 284, Public Acts of 1972 (profit corporations), or Act 162. Pubtic Acts of 1982 (nonprofil corporations). or Act 23, Public Acts
1993 limited liability companies), the undersigned execute the following Certificate:

 

1. The name of the corporation or limited liability company is:
Reinus investment Group, LLC

 

 

2. The identification number assigned by the Bureau is: D5533R

3. a. The name of the resident agent on file with the Bureau Is: Elaine Carls

b. The tocation of the registered office on file with the Bureau is:

 

 

 

 

 

 

 

7 West Square Lake Road Bloomfield Hills Michigan 48302
(Streat Address) (City) (ZIP Code)
c. The mailing address of the above registered office on file with the Bureau is:
7 West Square Lake Road Bloomfield Hills _ Michigan 48302
(Street Address or P.O. Box) (City) (ZIP Code}
ENTER IN ITEM 4 THE INFORMATION AS IT SHOULD NOW APPEAR ON THE PUBLIC RECORD
4. a. The name of the resident agent is: Elite Landlord Services, LLC
b. The address of its registered office is:
(28475 Greenfield Road #117 Southfield ss . | Michigan 48076
(Street Address) (City) (ZIP Code)
c. The mailing address of the registered office IF DIFFERENT THAN 4B is:
, Michigan —-_____.__-__—
(Street Address or P.O. Box) (City) (ZIP Code)

 

 

5. The above changes were authorized by resolution duly adopted by: 1. ALL CORPORATIONS: its Board of Directors; 2. PROFIT CORPORATIONS
ONLY: the resident agent if only the address of the registered office is changed, in which case a copy of this statement hes been maited to the
corporation; 3. LIMITED LIABILITY COMPANIES: an operating agreement, affirmative vote of a majority of the members pursuant to section 502(14),
managers pursuant to section 405, or the resident agent if only the address of the registered office is changed.

 

 

6. The corporation or limited liability company further states that the address of its registered office and the address of its resident agent as changed, are

identical.

 

 

; te Sk
Type or Print Name and Tite or KRW. AAG Date Signed

 

 

 

 

Signa a7
5S) D heoahi {eg MhOnKL IAMS MEMBER Ot 5 721
Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.39 Filed 01/28/16 Page 39 of 50

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Bernard J. Youngblood, Register of Deeds - Wayne County, MI
ELECTRONICALLY RECORDED

WAYNE COUNTY TREASURER
CERTIFICATE OF FORFEITURE OF REAL PROPERTY

Lhereby certify that on, March 1, 2015 __ the following real property was forfeited to the Wayne
County Treasurer for NON PAYMENT OF REAL PROPERTY TAX YEAR 2013.

This property will be titled absolutely in the name of Wayne County Treasurer if not redeemed
on or before the March 31 immediately succeeding the entry in an uncontested case of a
judgment foreclosing the property under MCL 211.78k, or in a contested case, 21 days after the
entry of a judgment foreclosing the property under MCL211.78k.

Taxpayer's Name and Address: NAOAKI IWASA
56388 SOLINA CT
MACOMB, MI 48042

Property located in the CITY OF DETROIT, WAYNE COUNTY, MI 48238
Property ID No: 14005265.

 

Property Description:
S TYLER LOT LOT 106 RUSSELL WOODS SUB L34 P3 PLATS, WC R 14/195 35 X 115

Commonly known as: 4239 TYLER ST, DETROIT

Dated this Day _03/23/2015 2 . .
iy

Raymond J. Wojtowicz

 

Wayne County Treasurer

   
 

 

 

Case 2-té-ev-1029+-A6-MKM ECE No 1, PagelD.40 Filed 01/28/16 Page 40 of 50
f
Corazon LLC y |
, Bernard J. Youngblood

Wayne County Register of Deeds

2015256625 L: 52031 P: 941
and when recorded, please retum this deed 92/24/2015 04:11 PM ocD Total Pages: 2
and tax statements to:
Corazon tLe (IY EW
2-6-11 Kandamachi Obase, Miyako-county
Fukuoka-pref, Japan 800-0345

Above reserved for official use onty
QUITCLAIM DEED

 

KNOW ALL MEN BY THESE PRESENTS THAT:

FOR A VALUABLE CONSIDERATION, in the amount of Twenty Eight Thousand Dollars
($28,000.00) in hand and no other good and valuabie consideration, the receipt and sufficiency of which
is hereby acknowledged, the undersigned, Reinus investment Group, LLC (“Grantor’),a , whose street
number and post office address is 56388 Solina Court Macomb, Michigan 48042 hereby REMISES,
RELEASES, AND FOREVER QUITCLAIMS to Corazon LLC (“Grantee”), whose street number and post
office address is 2-6-14 Kandamachi-Obase, Miyako-county Fukuoka-pref, Japan 800-0345 ail right,
title, interest and claim to the following real property in the City of Detroit, County of Wayne, State of

Michigan with the following legal description: Lot 106, Russel Woods Subdivision, as recorded in Liber
34, Page 3, Wayne County Records

> and the following address: 4239-41 Tyler Detroit, Michigan 48238
Tax Parcel ID Number: 14005265

TO HAVE AND TO HOLD all of Grantor's right, title and interest in and to the above described
property unto the said Grantee, Grantee's heirs, administrators, executors, successors and/or assigns
forever; so that neither Grantor nor Grantor's heirs, administrators, executors, successors and/or assigns
shall have, claim or demand any right or title to the aforesaid property, premises or appurtenances or any
part thereof.

EXECUTED this 23rd day of February, 20 15

.

 

Qo

Signature of Grantor) WAOAKL ASWASA MANANGIN
(gnature pf G Oe WEE AVES Bot eltoup DLE

Grantee's Address: Grantors Address:

2-6-11 Kandamachi-Obase, Miyako-county 56388 Solina Court
Fukuoka-pref, Japan 800-0345
Macomb, Michigan 48042

MICHIGAN REAL ESTATE TRANSFER TAX
St #363166
Hayne povoay20is,
iptu 15-47987 L: 52031 P: 941
Reser $210.00 County Tax: $30.82

 

 

 

need
 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.41 Filed 01/28/16 Page 41 of 50

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Bemard J. Youngblood, Register of Deeds - Wayne County,
ELECTRONICALLY RECORDED "

WAYNE COUNTY TREASURER
CERTIFICATE OF FORFEITURE OF REAL PROPERTY

I hereby certify that on, March 1.2015 the following real property was forfeited to the Wayne
County Treasurer for OF REAL PROPERTY TAX YEAR 2013.

 

Taxpayer’s Name and Address: NAOAKI IWASA
56388 SOLINA CT
MACOMB, Mi 48042

Property located in the CITY OF DETROIT, WAYNE COUNTY, Mi 48238
Property ID No: 14005265.

Property Description:
S TYLER LOT LOT 108 RUSSELL WOODS SUB L34 P3 PLATS, WG R 14/195 35 X 115

Commonly known. as: 4239 TYLER ST, DETROIT

Dated this Day 03/23/2015 _ 2 oo

 

Raymond J. Wojtowicz
Wayne County Treasurer

 

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Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.42 Filed 01/28/16 Page 42 of 50

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Bernard J. Youngblood, Register of Deeds - - Wayne County, MI
ELECTRONICALLY RECORDED

 

Notice of Pending Expedited Quiet Title and Foreclosure Action

Michigan Department of Treasury
4329 (8-05)

Required by section 9(1) of Land Bank Fast Track Act, 2003 PA 258, as amended, MCL 124.759,

The property identified below is subject to expedited quiet title proceedings and foreclosure der
the Land Bank Fast Track A 3 PA 258, 2 egal:d ill be

       

   

‘| Parcel No.:
14005265.

 

| Property Address (if available): "
4239 TYLER

 

[ County: Wayne Local Unit Nami Detroit Local Unit Code: 82250
Legal Description of the Property:

S TYLER LOT 106 RUSSELL WOODS SUB L34 P3 PLATS, W CR 14/195 35 X 115

 

 

 

 

 

 

Date: ==

WUAS

Initiated By: Drafted by and when recorded, return to:,

Detroit Land Bank Authority Ebony Jamison

65 Cadillac Sq. Ste. 2800 65 Cadillac Sq. Ste. 2800

Detroit, MI 48226 Detroit, MI 48226

(313) 502 - $280 (313) 502 - 5280

— a SAMANTHARAERUSS _
F. nave  .NOTARY

Subscribed and swom before me onthe“ dayof_2~/+ __., 3015 ie, EE
Signature Ann Ra ACTINGINCOUNTY OF wrecrae.

 

Printed Name: Samantha Rae Russ ° t
Notary Public, State of Michigan, County of Wayne
My commission expires: August 30, 2021
1/8/2016

Case 2:16-cv-10291-AC-M kidichrgpubiidbeeclor gba sal AB rdadasl 4678/16 Page 43 of 50

Skip to Main Content Logout My Account Search Menu New Case Search Refine
Search Back

Location : Non-Criminal Cases Imaaes

REGISTER OF ACTIONS

Case No. 15-008639-CH

Web Access Instruction
Manual

 

Defendant

Defendant

Defendant

Defendant

Defendant

Defendant

Plaintiff

Plaintiff

13405 Greiner St, Detroit, MI, 48205

16165 Trinity St., Detroit, Ml 48219

16209 Patton St., Detroit, MI 48219

3600 Wayburn St., Detroit, MI 48224

4239 Tyler St., Detroit, MI 48238

4308 Tyler St., Detroit, MI 48238

Detroit Land Bank Authority

Duggan, Mike

Parry InrormaTion

Lead Attorneys

Michael Joseph Brady
Retained
(313) 502-5252(W)

Michael Joseph Brady
Retained
(313) 502-5252(W)

 

07/01/2015
07/01/2015
07/01/2015
07/01/2015
07/02/2015
07/02/2015
07/17/2015
07/17/2015
07/30/2015
07/30/2015
07/30/2015
08/21/2015
08/31/2015
09/30/2015

 

OTHER EVENTS AND HEARINGS
Complaint, Filed

Service Review Scheduled
Status Conference Scheduled
Case Filing Fee - Paid
Amended Complaint, Filed
Notice of Hearing, Filed
Miscellaneous Pleadings, Filed
Notice of Hearing, Filed
Service of Complaint, filed
Service of Complaint, filed
Service of Complaint, filed
Service of Complaint, filed

Events & Orpers or THE Court

Party Final - Default Judgment Granted, Signed and Filed

Status Conference (8:00 AM) (Judicial Officer Colombo, Robert J., vr.)

 

Plaintiff Detroit Land Bank Authority
Total Financial Assessment

Total Payments and Credits
Balance Due as of 01/08/2016

07/01/2015] Transaction Assessment
07/01/2015] Civil File & Serve Payment Receipt # 2015-56930

https://cmspublic.3rdec.org/CaseDetail.aspx?CaselD=2481077

Financiat INFoRMATION

Detroit Land Bank Authority

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Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.44 Filed 01/28/16 Page 44 of 50

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Bernard J. Youngblood, Register of Deeds - Wayne County, MI
ELECTRONICALLY RECORDED

Notice of Pending Expedited Quiet Title and Foreclosure Action

Michigan Department of Treasury
4320 (9-05)

Required by section 9(1) of Land Bank Fast Track Act, 2003 PA 258, as amended, MCL 124.759,

The property identified below is subject to expedited quiet title proceedings and foreclosure under
the Land Bank Fast Track Act, 2003 PA 258. Any legal interests in the property will be

extinguished by the order of the Circuit Court of the County vesting absolute title to the property
in'the Detroit Land Bank Authority.

 

 

') Parcel No.:
14005265.

'| Property Address (if available):
4239 TYLER

| County: Wayne Local UnitName: Detroit Local Unit Code. 82250
Legal Description of the Property:

S TYLER LOT 106 RUSSELL WOODS SUB L34 P3 PLATS, WC R 14/195 35 X 115

 

 

 

 

 

 

Date: Authorized Signature: © ~~
TAS
Initiated By: Drafted by and when recorded, return to:
Detroit Land Bank Authority Ebony Jamison
65 Cadillac Sq. Ste. 2800 65 Cadillac Sq. Ste. 2800
Detroit, MI 48226 Detroit, MI 48226
(313) 502 - 5280 (313) 502 - 5280
i nave “NOTARY PUBLIC,
Subscribed and sworn before me on the / _/ day of_7” ly 2015 "county ae Me
Se " cn COMMISSION EXPRES Avg 30,2021
Signature — INTVOF wayne

 

Printed Name: Samantha Rae Russ . t
Notary Public, State of Michigan, County of Wayne
My commission expires: August 30, 2021
 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.45 Filed 01/28/16 Page 45 of 50

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STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

MIKE DUGGAN, Mayor, City of Detroit,
And the DETROIT LAND BANK AUTHORITY,
a public body corporate,

Plaintiffs,

vs Hon. Robert J. Colombo, Jr.
Case No. 15-008639-CH 45-008639-CH

13405 Greiner St, Detroit, MI, 48205, FILED IN MY OFFICE

16209 Patton St., Detroit, MI 48219, WAYNE COUNTY CLERK
16165 Trinity St., Detroit, MI 48219, ~-71212015°9:43:01 AM
4239 Tyler St., Detroit, MI 48238, CATHY M. GARRETT

4308 Tyler St., Detroit, MI 48238,
3600 Wayburn St., Detroit, MI 48224,

Defendants.

FIRST AMENDED PETITION FOR EXPEDITED QUIET TITLE and
FORECLOSURE ACTION

 
 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.46 Filed 01/28/16 Page 46 of 50

MICHAEL J. BRADY, JR. (P72314)
General Counsel, Detroit Land Bank Authority
EBONY JAMISON (P75856)

Staff Attorney, Detroit Land Bank Authority
Attorneys for Plaintiffs

65 Cadillac Square, Suite 2800

Detroit, Michigan 48226

(313) 502-5280

FIRST AMENDED PETITION FOR EXPEDITED QUIET TITLE and

FORECLOSURE ACTION

There is no other civil action between these parties arising out of the same
transaction or occurrence alleged in this complaint pending in this court,
nor has any such action previously been filed and dismissed or transferred
after having been assigned to a judge.

PLAINTIFF, DETROIT LAND BANK AUTHORITY, a public body corporate, by and through
their attorneys, MICHAEL J. BRADY, JR., General Counsel, Detroit Land Bank Authority, and
EBONY JAMISON, Staff Attorney, Detroit Land Bank Authority, seek entry of an Order of Quiet Title

pursuant to MCL 124.759, and for their Complaint to Quiet Title state as follows:

1. Plaintiff DETROIT LAND BANK AUTHORITY is a public body corporate existing pursuant
to the Land Bank Fast Track Act, Act 258 of 2003, MCL 124.751 et seq., located in the City of
Detroit, County of Wayne, Michigan.

2. Plaintiff, authorized to seek expedited quiet title relief under Section 9 of the Land Bank Fast

Track Act, MCL 124.759, seeks quiet title relief against Defendants, and any and all owners and
Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.47 Filed 01/28/16 Page 47 of 50

10.

interest holders of record, and any unknown or unnamed claimants, owners, spouses, heirs,
devisees, assignees, or successor in interest to the Defendant Properties.

Defendants are parcels of real property, including vacant buildings, premises or structures,
located in the City of Detroit, County of Wayne, State of Michigan, with common addresses as
more specifically described in Exhibit A. (See Exhibit A, List of Defendant Properties and
Legal Description of each Defendant Property).

Jurisdiction of this Court is based upon Article 6, Section 13 of the Michigan Constitution and

MCL 600.601, 600.751, 124.759. Venue is appropriate under MCL 600.1621.

. Plaintiff filed Complaint against Defendant Properties for constituting a nuisance and a danger

to the health, safety, peace and welfare of the residents of the City of Detroit.

This Honorable Court entered Orders of Default Judgment for each of the Defendant Properties
for failure to respond to Plaintiffs’ Complaint or otherwise abate the nuisance posed by Defendant
Properties. As part of the Court’s Order, each of the Defendant Properties have been declared a
nuisance.

Upon information and belief, the previous interest holders have chosen to abandon Defendant
Properties. To date, no Answer or other responsive pleading has been filed to contest the
Judgment of Default against Defendant Properties.

Following entry of Orders of Default Judgment against each of the Defendant Properties, Plaintiff
was granted title to defray the costs of abating the nuisance, attorney fees and court costs incurred.
Pursuant to MCL 124.759, all legal interests and liens against real property held by a land bank
authority, including any liens for unpaid taxes or special assessments, may be extinguished by a
circuit court order vesting absolute title to the property in the authority.

Plaintiff DETROIT LAND BANK AUTHORITY, is a public authority, created to foster

economic development and revitalization in this State. MCL 124.752.

 
 

48 of 50
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Defendant Properties, foster their development and return such land to productive use.

12. WHEREFORE, Plaintiff prays this Honorable Court set a hearin g date no later than August 21,

2015, and grant an Order of Quiet Title against Defendant Properties and all previous interest

holders and in favor of Plaintiff. We request that this Honorable Court enter a judgment that:

A.

Fee simple title to the Defendant Properties in Exhibit A is vested absolutely in the
DETROIT LAND BANK AUTHORITY without any further rights of redemption.

All existing recorded and unrecorded interests in Defendant Property are extinguished
upon effective date of judgment.

All liens against the property, including any lien for unpaid taxes or special assessments
are extinguished upon the effective date of the judgment.

Title vesting in the DETROIT LAND BANK AUTHORITY is not subject to any
recorded or unrecorded lien or interest.

All persons entitled to notice and an opportunity to be heard have been provided that
notice and opportunity.

Plaintiff be awarded such other relief as the Court deems just and equitable.

Respectfully submitted,

DETROIT LAND BANK AUTHORITY
MICHAEL J. BRADY, JR. (P72314)
General Counsel, Detroit Land Bank Authority

Dated: July 2, 2015 . /s/ Ebony Jamison

EBONY JAMISON (P75856)

Staff Attorney, Detroit Land Bank Authority
Attorneys for Plaintiffs

65 Cadillac Square, Suite 2800

Detroit, Michigan 48226

(313) 502-5280

 
 

 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.49 Filed 01/28/16 Page 49 of 50
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STATE OF MICHIGAN ec Ta 6

IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

MIKE DUGGAN, Mayor, City of Detroit,
And the DETROIT LAND BANK AUTHORITY,

a public body corporate,
Plaintiffs,
vs Hon. Robert J, Colombo, Jr. 15-008639-CH
‘Case No. 15-008639-CH Ey 5 IN MY OFFICE

13405 Greiner St, Detroit, MI, 48205, WAYNE COUNTY CLERK
16209 Patton St., Detroit, MI 48219, 8/31/2015 2:27:06 PM
16165 Trinity St., Detroit, MI 48219, CATHY M. GARRETT
4239 Tyler St., Detroit, MI 48238,

4308 Tyler St., Detroit, MI 48238, Matthew Johnson
3600 Wayburn St., Detroit, MI 48224,

Defendants.

JUDGMENT OF EXPEDITED QUIET TITLE AND FORECLOSURE

 

 

 
 

Case 2:16-cv-10291-AC-MKM ECF No. 1, PagelD.50 Filed 01/28/16 Page 50 of 50
2015395301 Page 2of6

MICHAEL J. BRADY, JR. (P72314)

General Counsel, Detroit Land Bank Authority
EBONY JAMISON (P75856)

Staff Attomey, Detroit Land Bank Authority
Attomeys for Plaintiffs

500 Griswold Street, Suite 1200

Detroit, Michigan 48226

(313) 502-5280

 

JUDGMENT OF EXPEDITED QUIET TITLE AND FORECLOSURE

At a session of said court held in City of Detroit,
County of Wayne, State of Michigan
17261 5

 

on 8/3
PRESENT: HON. ROBERT J. COLOMBO, JR.
Wayne County Circuit Court

THIS MATTER, having come before the Court on application of Plaintiffs for entry ofa
Judgment of Expedited Quiet Title and Foreclosure with respect to real property situated in the
City of Detroit, County of Wayne, State of Michigan, and more specifically described in the

Appendix herein (“Defendant Properties”). The Defendant Properties are commonly known as

¢ 13405 Greiner St, Detroit, MI, 48205,
© 16209 Patton St., Detroit, MI 4821 9,
* 16165 Trinity St., Detroit, M1 48219,
—_ * 4239 Tyler St., Detroit, M1 48238,
* 4308 Tyler St., Detroit, MI 48238,

¢ 3600 Wayburn St., Detroit, MI 48224,

 

 
